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                              United States District Court
                                        for the
                              Southern District of Florida

      Phyllis W. Sloan,                   )
      Plaintiff,                          )
                                          )
      v.                                  ) Civil Action No. 18-21517-Civ-Scola
                                          )
      Miami-Dade County,                  )
      Defendant.                          )

                          Opinion Order On Motion To Dismiss
        Plaintiff Phyllis Sloan (“Sloan”) brings this action asserting claims under
  the Title VII of the Civil Rights Act of 1964 (“Title VII”) and the Americans with
  Disability Act of 1990 (“ADA”) against her employer, Defendant Miami-Dade
  County (the “County”).
        Sloan twice amended her complaint, and now before the Court is the
  County’s motion to dismiss (the “Motion,” ECF No. 22) the Second Amended
  Complaint (the “SAC,” ECF No. 20). Having considered the parties’ submissions
  and the applicable law, the Court denies the Motion (ECF No. 22) as follows.

  1.       Background1
         Sloan began working for the Miami-Dade County Fire Rescue Department
  (the “Department”) in 1997, and remains employed by the Department as a Fire
  Fighter and Foam Truck Driver. (ECF No. 20 at ¶¶ 17, 18.) Over the course of
  her employment with the County, a male supervisor allegedly flirted with Sloan
  and “made many sexual advances” and other “sexually-charged” comments to
  her. (ECF No. 20 at ¶ 24.)
         Sloan claims to be physically disabled as a result of “chronic lateral
  epicondylitis” in her right elbow, plantar fasciitis and acute bronchial spasms.
  (Id. at ¶¶ 25-27.) The County is allegedly aware of these ailments, which Sloan
  submits do not hinder her “perform[ance of] the essential functions of her job as
  a Fire Fighter and Foam Truck Driver.” (Id. at ¶ 28.)
         In early 2015, Sloan filed a charge with the Equal Opportunity
  Employment Commission (“EEOC”) complaining of discrimination based on her


  1     The Court accepts as true the facts pled in the SAC. See Beck v. Deloitte &
  Touche, 144 F.3d 732, 735 (11th Cir. 1998) (“In evaluating the sufficiency of a
  complaint, a court must accept the well pleaded facts as true and resolve them
  in the light most favorable to the plaintiff.”).
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  sex and physical disabilities. (Id. at ¶ 29.) Because of that EEOC charge, Sloan
  claims that her supervisor took retaliatory action against her by, for example,
  denying her requests for outside employment. (Id. at ¶¶ 31, 33.) Sloan alleges
  she was later approved for outside employment, but only after “she complained
  that her male counterparts would be approved for outside employment.” (Id. at
  ¶ 33.)
          More than a year after that, in October 2017, Sloan “accidentally bumped
  a gate crossing guard and caused minor damage” to a “large truck” she was
  driving. (Id. at ¶ 34.) Sloan allegedly faced discipline for that accident while male
  counterparts did not under similar circumstances. (Id. at ¶ 36.) She claims this
  disparity is a result of her sex and in retaliation for her earlier EEOC charge. (Id.)
          In March 2018, Sloan filed another EEOC charge for discrimination after
  the County denied her request for outside employment based on excessive work
  absences. (Id. at ¶ 38.) Three male fire fighters with similar absences were
  allegedly approved for outside employment at that time. (Id.) Additionally, Sloan
  claims that she was denied promotions because of her complaints to the EEOC.
  (Id. at ¶ 40.)
          Four claims are asserted in the SAC: Count I for “Discrimination Based on
  Sex Under Title VII”; Count II for “Discrimination Based on Disability Under the
  ADA and ADAAA”; Count III for “Retaliation Under Title VII”; and Count IV for
  “Retaliation under ADA/ADAAA.” (ECF No. 20.)
          The County moves to dismiss all claims, arguing: (1) that the SAC is
  inadequately plead and a shotgun pleading; and (2) that Count IV fails to state
  a claim. (ECF No. 22.) Sloan responds arguing that she has met the burden of
  Rule 8. (ECF No. 34.)

  2.    Legal Standard
         When considering a motion to dismiss under Federal Rule of Civil
  Procedure 12(b)(6), the Court must accept all the complaint’s well-pled
  allegations as true, construing them in the light most favorable to the plaintiff.
  Pielage v. McConnell, 516 F.3d 1282, 1284 (11th Cir. 2008). A pleading need only
  contain “a short and plain statement of the claim showing that the pleader is
  entitled to relief.” Fed. R. Civ. P. 8(a)(2). “[T]he pleading standard Rule 8
  announces does not require detailed factual allegations, but it demands more
  than an unadorned, the-defendant-unlawfully-harmed-me accusation.” Ashcroft
  v. Iqbal, 556 U.S. 662, 678 (2009) (quotation omitted). A plaintiff must articulate
  “enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp.
  v. Twombly, 550 U.S. 544, 570 (2007). But, at bottom, Rule 8(a)(2) is satisfied
  where a complaint “give[s] the defendant fair notice of what the claim is and the
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  grounds upon which its rests.” LaCroix v. W. Dist. of Ky., 627 F. App’x 816, 818
  (11th Cir. 2015) (quoting Twombly, 550 U.S. at 555).
         “A claim has facial plausibility when the plaintiff pleads factual content
  that allows the court to draw the reasonable inference that the defendant is liable
  for the misconduct alleged.” Iqbal, 556 U.S. at 678. “The plausibility standard is
  not akin to a ‘probability requirement,’ but it asks for more than a sheer
  possibility that a defendant has acted unlawfully.” Id. “Threadbare recitals of the
  elements of a cause of action, supported by mere conclusory statements, do not
  suffice.” Id. Thus, a pleading that offers mere “labels and conclusions” or “a
  formulaic recitation of the elements of a cause of action” will not survive
  dismissal. See Twombly, 550 U.S. at 555. “Rule 8 marks a notable and generous
  departure from the hyper-technical, code-pleading regime of a prior era, but it
  does not unlock the doors of discovery for a plaintiff armed with nothing more
  than conclusions.” Iqbal, 556 U.S. at 679.
         Yet, where the allegations “possess enough heft” to suggest a plausible
  entitlement to relief, the case may proceed. See Twombly, 550 U.S. at 557. “[T]he
  standard ‘simply calls for enough fact to raise a reasonable expectation that
  discovery will reveal evidence’ of the required element.” Rivell v. Private Health
  Care Sys., Inc., 520 F.3d 1308, 1309 (11th Cir. 2008). “And, of course, a well-
  pleaded complaint may proceed even if it strikes a savvy judge that actual proof
  of those facts is improbable, and ‘that a recovery is very remote and unlikely.’”
  Twombly, 550 U.S. at 556.

  3.    Analysis
         In the Motion, the County argues that the SAC is a shotgun pleading.
  Specifically, the County asserts that Counts I, II and III impermissibly commingle
  a “hodgepodge” of legal theories and employment actions into single counts, in
  violation of Rules 8 and 10. (ECF No. 22 at pp. 6-8.) As for Count IV, the County
  argues that that count fails to state a claim for retaliation under the ADA and
  requires dismissal. (Id.) The Court disagrees on both points.
         Count I for “Discrimination Based on Sex Under Title VII” is sufficiently
  pled. (ECF No. 20 at pp. 7-9.) Although numerous legal terms are larded
  throughout Count I, the theory of Sloan’s claim is clear:
        Had Plaintiff not been female, she would not have been subject to
        disparate treatment based on her sex when she was disciplined for
        a training accident or when she was disapproved to have outside
        employment and threatened with ‘administrative action.’
  (Id. at ¶ 61.) The allegations of sexual harassment and hostile work environment
  may serve as a factual basis to support Sloan’s theory of disparate treatment.
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  Cf. Watson v. Fort Worth Bank & Trust, 487 U.S. 977, 986 (1988) (In “‘disparate
  treatment’ cases,” the “plaintiff is required to prove that the defendant had a
  discriminatory intent or motive.”). To the extent Sloan intended to assert
  separate claims for sexual harassment or hostile work environment, she must
  seek leave of Court to file a third amended complaint.
         Likewise, Count II does not violate Rules 8 or 10. The theory of that claim
  is that Sloan’s physical ailments resulted in work absences and, ultimately, her
  being “subjected to disparate treatment” through the denial of her request for
  “outside employment.” (Id. at ¶ 73.) As currently pled, the County has fair notice
  of the claim and the grounds upon which it rests. Twombly, 550 U.S. at 555.
         Count III is also sufficiently pled. Through that count, Sloan alleges that
  she filed two complaints with the EEOC, which resulted in her being “subjected
  to disparate treatment,” including discipline for the training accident and denial
  of outside employment. Those allegations also provide fair notice of the claim
  and grounds upon which it rests. Id.; (see also ECF No. 22 at p. 8 (“[I]t appears
  that this count attempts to allege two acts of retaliation: (1) the failure to provide
  outside employment in 2016, (2) the discipline in October 2017.”).)
          Finally, Count IV states a claim for retaliation under the ADA. Sloan
  alleges that she engaged in a protected activity in March 2018 by filing a
  complaint with the EEOC based in part on disability discrimination, and that
  she suffered an adverse employment action as a result through the denial of
  “outside employment.” (ECF No. 20 at ¶¶ 87, 88, 90). Those factual allegations,
  accepted as true, state a claim for retaliation under the ADA. See Standard v.
  A.B.E.L. Servs., Inc., 161 F.3d 1318, 1328 (11th Cir. 1998) (“In order to establish
  a prima facie case of retaliation under the ADA, [a plaintiff] must show (1) that
  he engaged in statutorily protected activity; (2) that he suffered an adverse
  employment action; and (3) a causal link between the protected activity and the
  adverse action.”).
  4. Conclusion
       In sum, the Motion (ECF No. 20) is denied. The County shall answer the
  SAC by March 19, 2019.
        Done and ordered in chambers, at Miami, Florida, on March 5, 2019.


                                                ________________________________
                                                Robert N. Scola, Jr.
                                                United States District Judge
